EXHIBIT 5
                                     CONFIDENTIAL

                                                                       Page 1

 1                    UNITED STATES DISTRICT COURT
 2                    EASTERN DISTRICT OF WISCONSIN
 3      - - - - - - - - - - - - - - - - - - - - - - - - - - -
        FULL CIRCLE UNITED, LLC,
 4
                            Plaintiff,
 5
                vs.                                    Case No.
 6                                                     1:20-cv-03395
        BAY TEK ENTERTAINMENT, INC,
 7
                         Defendant.        CONFIDENTIAL
 8      _______________________________
 9      BAY TEK ENTERTAINMENT, INC.,
10                 Counterclaim Plaintiff,
11       vs.
12      FULL CIRCLE UNITED, LLC,
13                 Counterclaim Defendant,
14       and
15      ERIC PAVONY,
16                 Additional Counterclaim
                   Defendant.
17
        - - - - - - - - - - - - - - - - - - - - - - - - - - - -
18
                                 CONFIDENTIAL
19                  VIRTUAL VIDEO-RECORDED DEPOSITION OF:
                               LARRY TREANKLER
20
                      TAKEN AT:    The Witness's Residence
21
                        LOCATED AT: 6747 Kawula Lane
22                           Sobieski, Wisconsin
23                              July 12, 2022
                            9:24 a.m. to 7:12 p.m.
24
                 REPORTED BY: VICKY L. ST. GEORGE, RMR.
25      - - - - - - - - - - - - - - - - - - - - - - - - - - - -
        JOB NO. 5304329

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                                    CONFIDENTIAL

                                                                    Page 124

 1      Q.     Have you ever had any communications via email with
 2             Larry Seidman about revenue generated by the
 3             Skee-Ball Live lanes prior to this litigation?
 4                         MS. LEPERA:     Object to the form of the
 5             question.
 6                         THE WITNESS:      Yeah, there is no Skee-Ball
 7             Live lane.    That's our trademark.          But what was the
 8             question?
 9      BY MS. CASADONTE-ASPSTOLOU:
10      Q.     Okay.   The lanes over at Full Circle United that were
11             manufactured by Bay Tek, they said Skee-Ball Live,
12             didn't they?
13                         MS. LEPERA:     Objection to the form of the
14             question.
15                         THE WITNESS:      No, they were NSBL lanes.
16      BY MS. CASADONTE-ASPSTOLOU:
17      Q.     It's your testimony that the lanes did not say
18             Skee-Ball Live at the time they were delivered from
19             Bay Tek to Full Circle?
20                         MS. LEPERA:     On the actual Alley Rollers,
21             is that your question?
22                         MS. CASADONTE-ASPSTOLOU:          Yes.
23                         THE WITNESS:      To the best of my knowledge,
24             that was not on there.
25      BY MS. CASADONTE-ASPSTOLOU:

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 1                         C E R T I F I C A T E
 2      STATE OF WISCONSIN )
                            ) SS
 3      MILWAUKEE COUNTY    )
 4                  I, VICKY L. ST. GEORGE, Registered Merit
 5      Reporter and Notary Public in and for the State of
 6      Wisconsin, do hereby certify that the preceding deposition
 7      was recorded by me and reduced to writing under my
 8      personal direction.
 9                  I further certify that said deposition was
10      taken at the witness's residence, 6747 Kawula Lane,
11      Sobieski, Wisconsin on July 12, 2022, commencing at 9:24
12      a.m. and concluding at 7:12 p.m.
13                  I further certify that I am not a relative or
14      employee or attorney or counsel of any of the parties, or
15      a relative or employee of such attorney or counsel, or
16      financially interested directly or indirectly in this
17      action.
18                  In witness whereof, I have hereunto set my hand
19      and affixed my seal of office at Milwaukee, Wisconsin,
20      this 26th day of July, 2022.
21
22
                                       <%2055,Signature%>
23                                     VICKY L. ST. GEORGE
                                       Notary Public in and for the
24                                     State of Wisconsin
                                       Commission Expires 1/29/2025
25

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